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                         UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
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     SECURITIES AND EXCHANGE                Case No. 2:15-cv-02563 FMO (FFMx)
10   COMMISSION,
                                            FINAL JUDGMENT AS TO
11              Plaintiff,                  DEFENDANT PACIFIC WEST
                                            CAPITAL GROUP, INC.
12        vs.
13   PACIFIC WEST CAPITAL GROUP,
     INC.; ANDREW B CALHOUN IV;
14   PWCG TRUST; BRENDA
     CHRSTINE BARRY; BAK WEST,
15   INC.; ANDREW B CALHOUN JR.;
     ERIC CHRISTOPHER CANNON;
16   CENTURY POINT, LLC; MICHAEL
     WAYNE DOTTA; and CALEB
17   AUSTIN MOODY (dba SKY
     STONE),
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                Defendants.
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1          The Securities and Exchange Commission (“SEC”) having filed a Complaint
2    and Defendant Pacific West Capital Group, Inc. having entered a general appearance;
3    consented to the Court’s jurisdiction over Defendant and the subject matter of this
4    action; consented to the entry of this Final Judgment without admitting or denying the
5    allegations of the Complaint (except as to jurisdiction); waived findings of fact and
6    conclusions of law; and waived any right to appeal from this Final Judgment:
7                                                  I.
8          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
9    permanently restrained and enjoined from violating, directly or indirectly, Section
10   10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. §
11   78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using
12   any means or instrumentality of interstate commerce, or of the mails, or of any
13   facility of any national securities exchange, in connection with the purchase or sale of
14   any security:
15         (a)       to employ any device, scheme, or artifice to defraud;
16         (b)       to make any untrue statement of a material fact or to omit to state a
17                   material fact necessary in order to make the statements made, in the light
18                   of the circumstances under which they were made, not misleading; or
19         (c)       to engage in any act, practice, or course of business which operates or
20                   would operate as a fraud or deceit upon any person.
21         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
22   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
23   binds the following who receive actual notice of this Final Judgment by personal
24   service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
25   attorneys; and (b) other persons in active concert or participation with Defendant or
26   with anyone described in (a).
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1                                               II.
2          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
3    permanently restrained and enjoined from violating Section 17(a) of the Securities
4    Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any
5    security by the use of any means or instruments of transportation or communication
6    in interstate commerce or by use of the mails, directly or indirectly:
7          (a)    to employ any device, scheme, or artifice to defraud;
8          (b)    to obtain money or property by means of any untrue statement of a
9                 material fact or any omission of a material fact necessary in order to
10                make the statements made, in light of the circumstances under which
11                they were made, not misleading; or
12         (c)    to engage in any transaction, practice, or course of business which
13                operates or would operate as a fraud or deceit upon the purchaser.
14         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
15   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
16   binds the following who receive actual notice of this Final Judgment by personal
17   service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
18   attorneys; and (b) other persons in active concert or participation with Defendant or
19   with anyone described in (a).
20                                             III.
21         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
22   permanently restrained and enjoined from violating Section 15(a) of the Exchange
23   Act [15 U.S.C § 78o(a)] by making use of the mails or any means or instrumentality
24   of interstate commerce to effect any transaction in, or to induce or attempt to induce
25   the purchase or sale of, any security, without being registered as a broker or dealer in
26   accordance with Section 15(b) of the Exchange Act [15 U.S.C. § 78o(b)].
27         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
28   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

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1    binds the following who receive actual notice of this Final Judgment by personal
2    service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
3    attorneys; and (b) other persons in active concert or participation with Defendant or
4    with anyone described in (a).
5                                                IV.
6          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
7    permanently restrained and enjoined from violating Section 5 of the Securities Act
8    [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any applicable
9    exemption:
10         (a)    Unless a registration statement is in effect as to a security, making use of
11                any means or instruments of transportation or communication in
12                interstate commerce or of the mails to sell such security through the use
13                or medium of any prospectus or otherwise;
14         (b)    Unless a registration statement is in effect as to a security, carrying or
15                causing to be carried through the mails or in interstate commerce, by any
16                means or instruments of transportation, any such security for the purpose
17                of sale or for delivery after sale; or
18         (c)    Making use of any means or instruments of transportation or
19                communication in interstate commerce or of the mails to offer to sell or
20                offer to buy through the use or medium of any prospectus or otherwise
21                any security, unless a registration statement has been filed with the
22                Commission as to such security, or while the registration statement is the
23                subject of a refusal order or stop order or (prior to the effective date of
24                the registration statement) any public proceeding or examination under
25                Section 8 of the Securities Act [15 U.S.C. § 77h].
26         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
27   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
28   binds the following who receive actual notice of this Judgment by personal service or

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1    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and
2    (b) other persons in active concert or participation with Defendant or with anyone
3    described in (a).
4                                               V.
5          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
6    liable for disgorgement of $53,654,584.00, representing profits gained as a result of
7    the conduct alleged in the Complaint, together with prejudgment interest thereon in
8    the amount of $5,859,747.58, and a civil penalty in the amount of $750,000.00
9    pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)], and Section
10   21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3). Defendant shall satisfy this
11   obligation by paying $60,264,331.60 to the Securities and Exchange Commission
12   (“SEC”) within 14 days after entry of this Final Judgment.
13         Defendant may transmit payment electronically to the SEC, which will provide
14   detailed ACH transfer/Fedwire instructions upon request. Payment may also be
15   made directly from a bank account via Pay.gov through the SEC website at
16   http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified
17   check, bank cashier’s check, or United States postal money order payable to the
18   “Securities and Exchange Commission,” which shall be delivered or mailed to
19         Enterprise Services Center
           Accounts Receivable Branch
20         6500 South MacArthur Boulevard
21         Oklahoma City, OK 73169

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     and shall be accompanied by a letter identifying the case title, civil action number,
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     and name of this Court; Pacific West Capital Group, Inc. as a defendant in this action;
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     and specifying that payment is made pursuant to this Final Judgment.
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           Defendant shall simultaneously transmit photocopies of evidence of payment
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     and case identifying information to the SEC’s counsel in this action. By making this
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1    payment, Defendant relinquishes all legal and equitable right, title, and interest in
2    such funds and no part of the funds shall be returned to Defendant.
3          The SEC may enforce the Court’s judgment for disgorgement and prejudgment
4    interest by moving for civil contempt (and/or through other collection procedures
5    authorized by law) at any time after 14 days following entry of this Final Judgment.
6    Defendant shall pay post judgment interest on any delinquent amounts pursuant to 28
7    U.S.C. § 1961. The SEC shall hold the funds, together with any interest and income
8    earned thereon (collectively, the “Fund”), pending further order of the Court.
9          The SEC may propose a plan to distribute the Fund subject to the Court’s
10   approval. Such a plan may provide that the Fund shall be distributed pursuant to the
11   Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002. The
12   Court shall retain jurisdiction over the administration of any distribution of the Fund.
13   If the SEC staff determines that the Fund will not be distributed, the SEC shall send
14   the funds paid pursuant to this Final Judgment to the United States Treasury.
15         Regardless of whether any such Fair Fund distribution is made, amounts
16   ordered to be paid as civil penalties pursuant to this Judgment shall be treated as
17   penalties paid to the government for all purposes, including all tax purposes. To
18   preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or
19   reduction of any award of compensatory damages in any Related Investor Action
20   based on Defendant’s payment of disgorgement in this action, argue that it is entitled
21   to, nor shall it further benefit by, offset or reduction of such compensatory damages
22   award by the amount of any part of Defendant’s payment of a civil penalty in this
23   action (“Penalty Offset”). If the court in any Related Investor Action grants such a
24   Penalty Offset, Defendant shall, within 30 days after entry of a final order granting
25   the Penalty Offset, notify the SEC’s counsel in this action and pay the amount of the
26   Penalty Offset to the United States Treasury or to a Fair Fund, as the SEC directs.
27   Such a payment shall not be deemed an additional civil penalty and shall not be
28   deemed to change the amount of the civil penalty imposed in this Judgment. For

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1    purposes of this paragraph, a “Related Investor Action” means a private damages
2    action brought against Defendant by or on behalf of one or more investors based on
3    substantially the same facts as alleged in the Complaint in this action.
4                                               VI.
5           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the
6    Consent is incorporated herein with the same force and effect as if fully set forth
7    herein, and that Defendant shall comply with all of the undertakings and agreements
8    set forth therein.
9                                               VII.
10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
11   shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
12   Final Judgment.
13                                             VIII.
14          There being no just reason for delay, pursuant to Rule 54(b) of the Federal
15   Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith
16   and without further notice.
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18   IT IS SO ORDERED.
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20   Dated: June 15, 2018                                      /s/
                                                      HON. FERNANDO M. OLGUIN
21                                                    UNITED STATES DISTRICT JUDGE
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23   Presented by:
     John B. Bulgozdy
24   Gary Y. Leung
     Attorneys for Plaintiff
25   Securities and Exchange Commission
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